                UNITED STATES DISTRICT COURT
               EASTERN DISTRICT OF WISCONSIN

 JOHN DOE,

                       Plaintiff,
                                                    Case No. 19-CV-388-JPS
 v.

 MARIAN UNIVERSITY, INC.,
                                                                   ORDER
                       Defendant.


         On September 30, 2019, Plaintiff filed a motion to extend time to

designate an expert witness from September 16, 2019 to October 15, 2019.

(Docket #25). This is not, as Plaintiff points out, a filing deadline, but a

discovery deadline that was agreed to by the parties in their Joint Rule 26(f)

Report. (Docket #26 at 1; Docket #7 at 2). Plaintiff explains that various

exigencies, including Defendant’s delay in fulfilling certain discovery

obligations, contribute to the need to extend the deadline. See (Docket #26

at 2–3).

         The parties are obliged to conduct discovery in accordance with the

Federal Rules of Civil Procedure against the backdrop of the Court’s trial

scheduling order. (Docket #10). At the scheduling conference, the Court

provided the parties with a series of dates limited to dispositive motion

practice and trial of the case while encouraging the parties and their counsel

to work together in good faith to develop all other discovery-related

deadlines. (Docket #9). In keeping with that guidance, the Court will not

become involved in refereeing disputes related to self-imposed cutoff dates

not otherwise specifically addressed in the Court’s trial scheduling order

court.



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      Accordingly,

      IT IS ORDERED that Plaintiff’s motion to extend the time for

designation of expert witnesses (Docket #25) be and the same is hereby

DENIED.

      Dated at Milwaukee, Wisconsin, this 8th day of October, 2019.

                                BY THE COURT:




                                J.P. Stadtmueller
                                U.S. District Judge




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